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                           UNITED STATES DISTRICT COURT
                                         DISTRICT OF COLUMBIA

United States of America, et al.,
                                                      )
                      Plaintiff(s)                    )
                                                      )
vs.                                                   )       Case Number:     1:20-cv-03010-APM
Google LLC,                                           )
                                                      )
                     Defendant(s)

                              DECLARATION FOR PRO HAC VICE ADMISSION
                             (to be attached to Motion for Pro Hac Vice Admission)

       In accordance with LCvR 83.2 (c)(2) and LCvR 44.1 (c)(2), I hereby declare that
the answers to the following questions are complete, true, and correct:
1. Full Name: Grace Arias Ramirez
2. State bar membership number: District of Columbia - 90003404
3. Business address, telephone and fax numbers:
      601 Montgomery Street, Suite 2000, San Francisco, CA 94111; (415) 800-0590.
4. List all state and federal courts or bar associations in which you are a member “in good standing”
      to practice law:
      District of Columbia; State of New Jersey; State of New York.
5. Have you been denied admission, disbarred, suspended from practice, reprimanded, denied “in
      good standing” status, or otherwise disciplined by any court, bar association, grievance committee
      or administrative body? Yes             No ✔

6. Have any proceedings which could lead to any such disciplinary action been instituted against you
      in any such bodies?       Yes    __ _No ✔
      (Please attach a statement explaining any “Yes” answers to questions 5 or 6.)

7. List the number of times the attorney has been admitted pro hac vice into this court within the last
      two years. 0
      (If your principal office is located in the District of Columbia, please answer questions 8 and 9.)

8. Are you a member of the DC Bar? Yes.

9. Do you have a pending application for admission into USDC for the District of Columbia? No.
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       In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to appear as sole or
lead counsel in a contested evidentiary hearing or trial on the merits further certifies that he/she:

                                           (CHECK ALL ITEMS THAT APPLY)

  1.          has previously acted as sole or lead counsel in a federal district court or the Superior Court of the District of
              Columbia or a state trial court of general jurisdiction in a contested jury or bench trial or other contested
              evidentiary hearing in which testimony was taken in open court and an order or other appealable judgment was
              entered. [LCvR 83.2(b)(1)/LCrR 44.1(b)(1)]; OR

  2.          has participated in a junior capacity in an entire contested jury or bench trial in a federal district court or the
              Superior Court of the District of Columbia or a state trial court of general jurisdiction. [LCvR 83.2(b)(2)/LCrR
              44.1(b)(2)]; OR


   3.         has satisfactorily completed a continuing legal education trial advocacy course of at least 30 hours sponsored
              by the District of Columbia Bar or accredited by a State Bar. [LCvR 83.2(b)(3)/LCrR 44.1(b)(3)]




        I declare under penalty of perjury that the foregoing is true and correct.
         12/04/2024
             DATE                                                                    SIGNATURE OF ATTORNEY




                                                                2
